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17

18                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
19                                      SAN FRANCISCO DIVISION
20
   IN RE: 23ANDME, INC. CUSTOMER DATA                 Case No. 3:24-md-03098-EMC
21 SECURITY BREACH LITIGATION

22                                                    RESPONSE TO MOTIONS TO APPOINT
     This Document Relates To: All Actions            INTERIM CO-LEAD COUNSEL
23
                                                      Date: May 30, 2024
24                                                    Time: 1:30 p.m.
25                                                    Judge: Hon. Edward M. Chen
                                                      Place: Courtroom 5, 17th Floor
26

27

28
     Response To Motions To Appoint Interim Co-Lead                            Case No. 3:24-md-03098-EMC
     Counsel
 1 I.        Introduction

 2           Proposed Interim Co-Lead Counsel Cotchett, Pitre & McCarthy LLP (“CPM”) and Bottini &

 3 Bottini (“BB”) (collectively the “CPM/BB Team”) request to be appointed Interim Co-Lead Counsel in

 4 this consolidated action against 23andMe, Inc. (“23andMe” or the “Company”). Amongst a group of

 5 other, highly qualified applicants, the CPM/BB Team uniquely have the resources and diversity of

 6 experience necessary to lead this important case. Most importantly, unlike other applicants who chose

 7 to file complaints soon after 23andMe initially announced the data breach, or organized premature

 8 settlement discussions before the facts (let alone leadership) had been settled, the CPM/BB Team

 9 continued to investigate its claims and then filed the most comprehensive complaint.
10           In sum, the CPM/BB Team easily satisfies the requirements of Rule 23(g), and the Team’s deep,
11 particularized experience will allow it to achieve a successful and efficient recovery for the class.

12 II.       Argument
13           A.      The CPM/BB Complaint is Comprehensive, Following Extensive Investigation, and
14                   Carefully Considered All Legal Claims and Remedies
             The work that counsel has done in identifying, investigating, and pleading potential claims in a
15
     complaint is an important factor in appointing interim lead counsel. See Fed. R. Civ. P. 23(g)(1)(A) (a
16
     court “must consider: (i) the work counsel has done in identifying or investigating potential claims in
17
     the action”). Indeed, in comparing the work performed at the early stages of a case, courts often weigh
18
     the quality of the pleadings “in favor of plaintiffs who had filed complaints that were more targeted,
19
     better researched, and more challenging for the defendants.” Berg v. Guthart, 2014 WL 3749780, at *6
20
     (N.D. Cal., July 30, 2014) (citations omitted).
21
             Here, and in stark contrast to many of the complaints in this action that were hurriedly filed
22
     within days or weeks of the initial disclosure of the breach, the CPM/BB Team waited to file suit until
23
     its investigation was completed and after substantial additional information was revealed. As a result,
24
     the CPM/BB Team filed the most detailed and comprehensive complaint, with fourteen causes of action
25
     specifically tailored to the facts of this case. See Case No. 3:24-cv-01418, ECF No. 1.
26
             Not surprisingly, the majority of complaints filed do not include facts concerning (1) 23andMe’s
27
     changes to its terms of service that made it more difficult for users to bring suit; (2) specific allegations
28
     Response To Motions To Appoint Interim Co-Lead         1                          Case No. 3:24-md-03098-EMC
     Counsel
 1 that the plaintiff has opted out of Defendants’ class action waiver, which Thompson has, thereby

 2 preserving his standing to bring these claims (Id. at ¶21); (3) the hacker’s use of the DNA Relatives and

 3 Family Tree Features; (4) the hacker’s posts targeting Jewish and Chinese users; and (5) the additional

 4 disclosure filed by 23andMe with the California Attorney General’s Office, which describes a far more

 5 devastating breach than was originally disclosed in either 23andMe’s initial October 2023 disclosures

 6 or its updated December 2023 disclosures. See Case No. 3:24-cv-01418, ECF No. 1 at ¶¶ 5-16, 21, 34-

 7 38, 41-56, 65-66, 72-74.

 8           Nonetheless, several firms now tout the fact that they began discussing mediation with

 9 Defendants in December 2023, well before the extent of the problems had emerged. See Case No.
10 3:24-md-03098-EMC, ECF No. 5. Indeed, the Company’s belated disclosure to the California Attorney

11 General’s office was not filed until January 21, 2024 and described, for the first time, that 23andMe had

12 been attacked from April 2023 through September 2023 and that hackers were able to access users’ raw

13 genotype data and other highly sensitive health care information like health predisposition reports and

14 carrier-status reports. Case No. 3:24-cv-01418, ECF No. 1 at ¶¶50-52.

15           A mere week after this disclosure, on January 31, 2024, over 25 plaintiff’s attorneys, including a
16 majority of the attorneys requesting to be Lead Counsel here, participated in a premature mediation. At

17 the time, the CPM/BB Team was investigating the still-developing facts of this case to ensure that the

18 Team’s Complaint was both targeted and comprehensive. The CPM/BB Team filed its Complaint on

19 March 8, 2024, containing fourteen causes of action and two subclasses. On March 20, 2024, without

20 informing the CPM/BB Team now on file, these firms conducted a second mediation.

21           B.      The CPM/BB Team is Local, Which Increases Efficiency
22           Before this Court are motions for lead from counsel from various states, as well as several
23 motions for lead where an out-of-state firm has paired up with a California firm. See Id., ECF Nos. 3,

24 18, 22; Case No. 3:23-cv-05345-EMC, ECF No. 21, and Case No. 3:23-cv-05147-EMC, ECF No. 85.

25 While the involvement of out-of-state counsel is to be expected, interests of judicial economy and

26 efficiency are best served by California-based lead counsel familiar with the Court and physically close

27 to the primary defendant, 23andMe. Here, the CPM/BB Team is located solely in California, and CPM

28 has been based in the Bay Area since 1967. 23andMe’s principal headquarters are in South San
     Response To Motions To Appoint Interim Co-Lead        2                        Case No. 3:24-md-03098-EMC
     Counsel
 1 Francisco, and the lion’s share of discovery and depositions will therefore likely take place in San

 2 Mateo or San Francisco counties. As the entirety of CPM’s attorneys working on this case are located

 3 in this District, travel expenses for out-of-state counsel will be completely eliminated. Further, in

 4 collaborating with any counsel that may be assigned as part of any Steering Committee, CPM’s office

 5 in Burlingame, a 5-minute drive from SFO, makes it an ideal and efficient base of operations. Further,

 6 the CPM/BB Team has litigated numerous class actions in the Northern District and is intimately

 7 familiar with the Court and its processes.

 8           C.      The CPM/BB Team is Diverse

 9           The majority of motions for leadership included one representative attorney who would serve as
10 the sole or co-lead counsel. Since the identified attorney is generally a senior partner at his or her firm,

11 these applicants presumably also propose their firms (or less senior attorneys and staff) to be appointed

12 to perform much of the work to ensure cost efficiencies.

13           The CPM/BB team, on the other hand, recognizes that a team of diverse attorneys is both
14 encouraged by the Court and beneficial to the class. Therefore, the CPM/BB Team identified all of

15 their proposed slate of attorneys, each of whom will apply their particular skills and backgrounds to

16 represent the class. The CPM/BB Team spans five generations and includes attorneys diverse in age,

17 gender, racial/ethnic identity, national origin, and sexuality.

18                      Years of
        Attorney                                                   Background
                        Practice
19
                                    Cotchett has tried more than 100 cases to verdict. In one of the earliest
20      Joseph W.          60       multidistrict litigation mass tort cases in the country for improperly
         Cotchett                   tested Swine Flu vaccinations, Cotchett was appointed lead counsel.
21
                                    Cotchett is considered one of the best trial strategists in California.
22                                  Molumphy’s background includes a string of historic results in data
        Mark C.            31       security and privacy cases, as well as issues of first impression relating to
23
       Molumphy                     privacy and security, including In re Apple Inc. Device Performance
24                                  Litigation and In re Zoom Communications, Inc. Privacy Litigation.
25                                  Redenbarger started his legal career in tenants’ rights law, representing
       Tyson C.            11       tenants who were wrongfully evicted or living in unhabitable conditions.
26    Redenbarger                   Since then, he has practiced in a wide range of complex civil litigation,
27                                  including privacy class actions and large multidistrict litigation such as
                                    Zoom and Apple.
28
     Response To Motions To Appoint Interim Co-Lead         3                         Case No. 3:24-md-03098-EMC
     Counsel
 1                                  After graduating from UC Berkeley School of Law with a certificate in
        Gia Jung            3       IP & Technology Law, Jung worked at a large firm representing clients
 2
                                    in technology-based commercial litigation and trade secret matters. Since
 3                                  joining the plaintiff’s bar, Jung has served as counsel in complex
                                    consumer, privacy, and securities class actions. Jung has published works
 4
                                    and speaks at conferences concerning artificial intelligence and the law.
 5                                  Bottini has achieved numerous multi-million dollar recoveries in
        Francis A.         30       securities, consumer, privacy, and antitrust class actions across the
 6
         Bottini                    country. Recently, the In re Yahoo! Inc. Shareholder Litigation, settled
 7                                  for $29 million under his leadership, the largest recovery ever in a
                                    shareholder derivative action involving a data breach. Bottini has also
 8
                                    led other prominent cases involving significant remedial relief, including
 9                                  as Co-Lead Counsel in In re Alphabet Inc. Shareholder Derivative Litig.,
                                    which obtained a groundbreaking settlement resulting in several major
10
                                    DEI commitments and reforms by Google.
11                                  Chang was born in China and came to America as a teenager to pursue
        Albert Y.          23       the American dream. Chang has extensive experience in federal privacy
12
         Chang                      litigation and served as a judicial law clerk to United States District
13                                  Judge Suzanne B. Conlon for the Northern District of Illinois and to
                                    United States District Judge Roger T. Benitez for the Southern District of
14
                                    California. Chang has been involved in several high-stakes litigations
15                                  involving technology companies and recently served on the Executive
                                    Committee in the Tiktok Consumer Privacy Litigation and the Steering
16
                                    Committee in Zoom.
17                                  Beste’s practice includes employment, environmental, and trade secret
         Anne B.           32       litigation in multiple states, including California, Washington D.C.,
18
          Beste                     Missouri, and Illinois. Since joining Bottini & Bottini, Beste primarily
19                                  practices complex class action litigation, including consumer, privacy,
                                    and securities class actions.
20

21           D.      The CPM/BB Team’s Trial and Class Action Experience Will Efficiently and
                     Expediently Move this Case Towards Resolution
22
             The CPM/BB Team has highly relevant experience with complex privacy litigation and large
23
     multi-district litigation. For example, Bottini & Bottini was appointed to Plaintiffs’ Steering
24
     Committee by the Hon. John Z. Lee In re Tik Tok, Inc. Consumer Privacy Litigation, MDL No. 2948
25
     (N.D. Ill.). In that consumer privacy class action, the plaintiffs alleged that Defendants, through the
26
     TikTok app, collected, captured, obtained, stored and disclosed Illinois resident TikTok users’
27
     biometric information in violation of Illinois’ Biometric Information Privacy Act (“BIPA”), 740 ILCS
28
     Response To Motions To Appoint Interim Co-Lead        4                         Case No. 3:24-md-03098-EMC
     Counsel
 1 §14/1, et seq. Similar to the present case, TikTok involved technical as well as privacy issues, which

 2 impacted a large number of consumers. Ultimately, TikTok successfully settled for $92 million.

 3           Similarly, CPM successfully served as co-lead counsel in In re Zoom Video Communications,

 4 Inc. Privacy Litigation. In Zoom, class plaintiffs alleged Zoom failed to protect users’ privacy and

 5 misrepresented the capabilities of its service. The class of 150 million users included individuals who

 6 had been subjected to cruel and obscene “Zoombombings” and users whose personal data had been

 7 shared without consent. After years of discovery, the case settled for $85 million and over a dozen

 8 major changes to Zoom’s practices, designed to improve meeting security, bolster privacy disclosures,

 9 and safeguard consumer data, which the court found to be a “significant” additional value to the class.
10 In re Zoom Video Commc'ns, Inc. Priv. Litig., 2022 WL 1593389, at *6 (N.D. Cal. Apr. 21, 2022).

11           Additionally, the CPM/BB Team both have extensive experience leading contentious and high-
12 stakes multi-district ligation, including In re Apple Inc. Device Performance Litigation. In Apple, CPM

13 served as co-lead counsel for the massive, nationwide class action alleging that Apple caused iPhone

14 customers to install an operating system software update that secretly slowed down or “throttled” the

15 performance of their iPhones. Molumphy coordinated the review of millions of highly technical Apple

16 documents and depositions of Apple executives and engineers. Ultimately, Apple agreed to pay up to

17 $500 million to iPhone users. CPM and B&B are also currently serving on the Executive Committee in

18 In re Google RTB Consumer Privacy Litig., Case No. 4:21-cv-02155-YGR (N.D. Cal.)—a consumer

19 privacy class action alleging that Google misappropriated consumers’ personally identifiable

20 information for its own profit in connection with the operation of its “real time bidding” network with

21 advertisers. See In re Google RTB Consumer Priv. Litig., 606 F. Supp. 3d 935 (2022) (denying motion

22 to dismiss).

23           This experience will also benefit the class in resolution discussions. While early settlement
24 discussions may be in the best interests of the class, the CPM Team will make that determination only

25 after ensuring that Lead Counsel are on an equal playing field as 23and Me, with access to the same

26 material evidence. In contrast, there are several proposed lead counsel who, if appointed, have

27 indicated that they would move this Court to stay or otherwise postpone litigation in this case to try to

28 settle this case early. See e.g., Case No. 3:24-md-03098-EMC, ECF Nos. 5, 19, 22. The CPM/BB
     Response To Motions To Appoint Interim Co-Lead        5                        Case No. 3:24-md-03098-EMC
     Counsel
 1 Team staunchly opposes any delays in litigating this case, and will instead pursue an aggressive

 2 discovery schedule that will best inform any potential settlement or allow for the class to expeditiously

 3 proceed toward trial. Mediation efforts can be undertaken in parallel with the litigation, but not at the

 4 expense of an expedited case schedule or full discovery into the damages alleged in this case. Below is

 5 a proposed schedule reflecting this approach:

 6           Consolidated Complaint:                                             June 30, 2024
             Class Certification Motion Due:                                     September 26, 2024
 7                  Opposition:                                                  October 24, 2024
                    Reply:                                                       November 21, 2024
 8
             Fact Discovery Cut Off:                                             January 31, 2025
 9           Deadline to Amend Pleadings:                                        February 21, 2025
             Expert Disclosures:                                                 February 21, 2025
10           Rebuttal Expert Disclosures:                                        March 7, 2025
             Expert Discovery Cut Off:                                           March 21, 2025
11           Last Day to File Dispositive and Daubert Motions:                   April 11, 2025
                    Opposition:                                                  May 9, 2025
12
                    Reply:                                                       May 23, 2025
13           Final Pretrial Conference:                                          June 16, 2025
             Jury Trial:                                                         June 30, 2025
14
             The CPM/BB Team will also strive to preserve class resources by avoiding needless expert
15
     reports or untimely class surveys, particularly those designed to benefit and self-promote counsel and
16
     not the class members. The CPM/BB Team will further endeavor to keep costs low to maximize the
17
     recovery for the class, including by carefully considering experts and needed depositions, utilizing
18
     modern discovery and ESI technologies under the supervision of IT experts, and keeping this case on an
19
     aggressive trial schedule to minimize waste.
20
     III.    Conclusion
21
             For these reasons discussed herein, the Court should appoint the CPM/BB Team as Interim Co-
22
     Lead Counsel.
23

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     Response To Motions To Appoint Interim Co-Lead       6                        Case No. 3:24-md-03098-EMC
     Counsel
 1    Dated: April 25, 2024                           Respectfully submitted,
                                                      COTCHETT, PITRE & MCCARTHY, LLP
 2
                                                                /s/ Mark C. Molumphy
 3
                                                               MARK C. MOLUMPHY
 4                                                     Gia Jung (SBN 340160)
 5                                                     Joseph W. Cotchett (SBN 36324)
                                                       Mark C. Molumphy (SBN 168009)
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11                                                    BOTTINI & BOTTINI, INC.
12
                                                                /s/ Francis A. Bottini, Jr.
13                                                             FRANCIS A. BOTTINI, JR.
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19                                                     Counsel for Plaintiff Rudy K. Thompson
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     Response To Motions To Appoint Interim Co-Lead     7                       Case No. 3:24-md-03098-EMC
     Counsel
 1                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2           I, Mark C. Molumphy, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury under the laws of the United States of

 4 America that the foregoing is true and correct.

 5           Executed this 25th day of April 2024, at Burlingame, California.

 6                                                    By /s/ Mark C. Molumphy
                                                        Mark C. Molumphy
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     Response To Motions To Appoint Interim Co-Lead       8                       Case No. 3:24-md-03098-EMC
     Counsel
